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                BEFORE THE UNITED STATES JUDICIAL PANEL
                     ON MULTIDISTRICT LITIGATION


  IN RE ORAL PHENYLEPHRINE               MDL DOCKET NO. 3089
  MARKETING AND SALES PRACTICES
  LITIGATION




MOVANTS’ REPLY IN FURTHER SUPPORT OF THEIR MOTION FOR TRANSFER
   OF ACTIONS PURSUANT TO 28 U.S.C. § 1407 FOR COORDINATED AND
             CONSOLIDATED PRETRIAL PROCEEDINGS




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         Defendants and the responding Plaintiffs all agree that the Phenylephrine actions should

be centralized. To date over 65 Phenylephrine actions have been filed in federal courts across the

United States, with the clear prospect of many more to come. A sufficient number of common

factual issues also exist such that transfer and centralization, pursuant to 28 U.S.C. § 1407, is the

most efficient means to litigate these cases against the several named Defendants going forward.

Given that the litigation of these cases is still in the early stages, now is also the opportune time

for transfer and centralization to occur.

         Reiterating the point that Movants made in their opening brief (ECF No. 1), the District of

New Jersey is the most appropriate venue to which these cases should be transferred and

centralized. Indeed, the facts remain that: (a) many of the Defendants are headquartered in New

Jersey; (b) New Jersey is where key evidence and witnesses will be located; (c) New Jersey is

otherwise conveniently located; and (d) the District of New Jersey has ample judicial resources to

handle the proposed MDL. Moreover, and not insignificantly, based on the foregoing facts, the

District of New Jersey is a venue where relevant decisions on issues pertinent to this litigation

were made and where trials can be conducted against the predominant defendants without any

Lexecon issues.1

         Defendants disagree, and argue that the District of New Jersey’s docket is purportedly

congested and that the proceedings should be transferred to either the Southern or Eastern Districts

of New York. However, Defendants’ “congestion” argument (their sole substantive argument

against the District of New Jersey) inaccurately assesses the actual caseload of each judge in New

Jersey and ignores that the District of New Jersey filled six judicial vacancies in the last three

years, with two more candidates awaiting floor votes in the Senate. Further, given that the


1
    Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998).




                                                  1
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significant MDLs in the District are mass tort litigations (at least two of which are resolved),2

Defendants’ presentation of the statistical picture also fails to reflect the reality on the ground—

where a significant number of actions pending in the District of New Jersey are consolidated before

two judges for pre-trial proceedings. A fair assessment of the District of New Jersey’s current

caseload thus further militates in favor of transferring and centralizing these actions there.

                                           ARGUMENT

I.     Transfer for Consolidation or Coordination of Pretrial Proceedings Is Proper.

       All parties agree consolidation and coordination of pretrial proceedings is proper here.

These related actions share the same core factual question: is Phenylephrine ineffective as an oral

decongestant? Centralization will eliminate duplicative discovery, prevent inconsistent pretrial

rulings on Daubert and other issues, and conserve the resources of the parties, their counsel, and

the judiciary.

       Moreover, the actions sought to be centralized are all recently-filed, no significant progress

has been made in any of them, and the actions have been filed in numerous districts across the

United States. Centralization thus serves the convenience of the parties and witnesses and

promotes the just and efficient conduct of the actions. Finally, centralization of this consumer-

related litigation aligns with the Panel’s recent decisions ordering the centralization of similar

cases. See In re Philips Recalled CPAP, Bi-Level Pap, & Mech. Ventilator Prod. Liab. Litig., 568

F. Supp. 3d 1408, 1410 (J.P.M.L. 2021).




2
  See In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practice and Products
Liability Litigation (MDL 2738); In re: Proton Pump Inhibitor Products Liability Litigation (MDL
2789); In re: Elmiron (Pentosan Polysulfate Sodium) Products Liability Litigation (MDL 2973);
In re: Valsartan, Losartan, and Irbesartan Products Liability Litigation (MDL 2875); and In re:
Allergan Biocell Textured Breast Implant Products Liability Litigation (MDL 2921).



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II.    The Panel Should Centralize the Related Actions in the District of New Jersey.

       A.      Responding Defendants Fail to Show That the Southern and/or Eastern
               Districts of New York Are Superior to New Jersey as Transferee Fora.

       Defendants’ first argument for centralization in New York City—that some “evidence and

witnesses are located in or near New York,” ECF No. 24, at 14 (“Br.")—only supports New Jersey

as the better transferee forum.    For example, Defendants tout that New York State is the

headquarters of Defendants Pfizer and Price Chopper Foods, id., but fail to mention that Pfizer and

Price Chopper Foods did not join Defendants’ response brief, and that the location of Price

Chopper Foods referenced by Defendants is in Schenectady, New York—i.e., upstate New York,

approximately 160 miles from both Manhattan and New Jersey and in a district that no party has

proposed for centralization (the Northern District of New York).

       Next, Defendants argue that New York City is convenient because five Defendants are

headquartered in the District of New Jersey, which is nearby. Id. Oddly and without irony,

Defendants appear to argue that multiple Defendants’ location in New Jersey supports

centralization in New York, but that somehow those same Defendants’ location in New Jersey

does nothing to support New Jersey as the appropriate forum. This argument makes little sense.

Based on Defendants’ logic, New Jersey is obviously a more convenient forum for Defendants and

potential witnesses: it is where the most Defendants are headquartered (more than in any district

proposed by Defendants or any other Plaintiff) and is otherwise convenient to other Defendants

(such as those headquartered in, e.g., Philadelphia). When assessing the appropriateness of

potential transferee districts, the Panel often values the central location of documents and

witnesses, as that location typically provides the most convenient forum for the litigation. Here,

multiple Defendants’ New Jersey headquarters are where crucial decisions regarding the sale of

oral decongestants using Phenylephrine were made, demonstrating that it is the locus of operative




                                                3
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facts and the geographically central location for this nationwide litigation. This weighs heavily

toward centralization there.3

       Defendants’ other arguments for New York City should be afforded little weight.

Defendants argue, without citation to evidence, that eighteen Plaintiffs reside in “New York,” but

do not elaborate on whether such Plaintiffs live in the Southern or Eastern Districts of New York,

or even in one of the more far-flung districts of New York. Br. at 14. In any event, the vast amount

of factual discovery will concern Defendants’ actions, not those of a handful of consumer

Plaintiffs. With respect to the Southern District of New York, while Defendants recognize that no

Phenylephrine cases are pending in the Southern District of New York, they contend the absence

of a single filed action in that District (out of the more than 65 already filed) should not block

centralization there. Br. at 16. But that rationale should only apply where, unlike here, no single

location stands out as the geographic and evidentiary focal point for this nationwide docket. See




3
  See, e.g., In re Samsung Customer Data Sec. Breach Litig., No. MDL 3055, 2023 WL 1811247,
at *2 (J.P.M.L. Feb. 1, 2023) (transferring litigation to District of New Jersey where defendant had
its headquarters, and “where common witnesses and other evidence likely will be found”); In re
FTX Cryptocurrency Exch. Collapse Litig., No. MDL 3076, 2023 WL 3829242, at *3 (J.P.M.L.
June 5, 2023) (transferring actions to district from which “[a] significant part of FTX’s conduct
allegedly emanated . . ., where it had its U.S. headquarters”); In re Equifax. Inc., 289 F. Supp. 3d
1322 (J.P.M.L. 2017) (transferring actions to Northern District of Georgia, where main defendant
is headquartered as “relevant documents and witnesses thus likely will be found there.”); In re
Vytorin/Zetia Mktg., 543 F Supp. 2d 1378 (J.P.M.L 2008) (centralizing cases in District of New
Jersey because two of defendants had corporate headquarters in New Jersey, and thus, relevant
discovery could be found there, and transfer to that district enjoyed support of defendants and
several plaintiffs); In re: Benicar (Olmesartan) Prod. Liab. Litig., 96 F. Supp. 3d 1381, 1383
(J.P.M.L. 2015) (selecting District of New Jersey as transferee district where defendants “are
headquartered . . . and thus many witnesses and relevant documents are likely to be found there”);
In re Hannaford Bros. Co. Customer Data Sec. Breach Litig., 559 F Supp. 2d 1405 (J.P.M.L 2008)
(finding District of Maine was appropriate transferee district because, among other reasons,
defendant had its headquarters in that district, and thus relevant documents and witnesses would
be found there); In re Wash. Mut., Inc., 536 F Supp. 2d 1377 (J.P.M.L 2008) (centralizing litigation
in Western District of Washington where defendant was headquartered and witnesses and
documents were located).



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In re Acetaminophen - ASD/ADHD Prod. Liab. Litig., 637 F. Supp. 3d 1372, 1376 (J.P.M.L. 2022).

New Jersey is just such a focal point.

       Defendants contend the convenience for Plaintiffs’ counsel weighs in favor of

centralization in one of the requested New York Districts, because, in 29 of the constituent cases,

Plaintiffs’ counsel have offices in “New York,” and 13 Defendants’ counsel have offices in New

York City. Br. at 14-15. Even those numbers are misleading: less than half of the Plaintiffs’

counsel with offices in New York have offices in New York City, and litigation by a lawyer based

in New York City in one of the courts sitting in the District of New Jersey (a PATH or NJ Transit

train ride away) can scarcely be described as “inconvenient.” In any event, this Court has

       long held that the convenience of counsel “is not by itself a factor to be considered
       under Section 1407 in the Panel’s decision whether to order transfer or in the
       selection of a transferee forum for a group of actions. Only if the inconvenience of
       counsel would impinge on the convenience of the parties or witnesses would the
       convenience of counsel become a factor to be considered by the Panel.”

In re DirectBuy, Inc., Mktg. & Sales Pracs. Litig., 682 F. Supp. 2d 1349, 1350–51 (J.P.M.L. 2010)

(quoting In re Anthracite Coal Antitrust Litig., 436 F. Supp. 402, 404 (J.P.M.L.1977)).

       Defendants also argue that centralization in New York is also favored because of easy

access by air or rail, but this is equally true for centralization in New Jersey, which has a major

international airport, with direct, frequent, and economical flights available from almost all major

cities in the United States, as well easy access via Amtrak and local train services. See Johnson &

Johnson, 220 F. Supp. 3d at 1359 (transferring actions to District of New Jersey because district

“is a convenient and accessible forum for this nationwide litigation”); Marrone v. Teleservices

Grp., Inc., No. 02–CV–5763, 2008 WL 2228990, at *3 (E.D.N.Y. May 28, 2008) (“defendants

and any non-party witnesses will not be inconvenienced in light of proximity between New Jersey

and the Eastern District. At most, any witnesses will have to travel approximately sixty (60)

miles”); cf. In re Prempro Prods. Liab. Litig., 254 F. Supp. 2d 1366, 1368 (J.P.M.L. 2003)



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(selecting transferee district based, in part, on its geographic centrality); Columbus McKinnon

Corp. v. SST Casting, Inc., No. 08-CV-1672, 2009 WL 1563922, at *7 (W.D.N.Y. June 3, 2009)

(“Defendants’ claims of inconvenience are greatly exaggerated[. . . .] [b]ecause Buffalo is easily

accessible by air or other means, . . . . And because New York and Ohio are essentially border

states, this Court finds that the commute is not as inconvenient as alleged”). The Martin Luther

King Building & U.S. Courthouse of the District of New Jersey is within a nine-minute drive

(barring traffic conditions) of Newark Liberty Airport (“EWR”), which offers regular flights to the

places where the parties in the Related Actions are located. EWR is one of the largest airports in

the United States. As of 2021, EWR served 43.4 million passengers, which made it the 23rd

busiest airport by passenger traffic in the world.

         B.     The District of New Jersey Has the Resources, Judicial Expertise, and
                Favorable Caseload to Conduct Efficient Pretrial Proceedings.

       The District of New Jersey offers the judicial expertise, resources, and favorable caseload

to conduct efficient pretrial proceedings. See In re Battlefield Waste Disposal Litig., 655 F. Supp.

2d 1374, 1375 (J.P.M.L. 2009) (transferring actions to an “experienced transferee judge who has

a caseload favorable to accepting this assignment”); In re Actos Prods. Liab. Litig., 840 F. Supp.

2d 1356, 1357 (J.P.M.L. 2011) (assigning MDL to judge with no other pending MDLs despite

defendants’ request for MDL to be centralized elsewhere). Indeed, there are numerous capable

district judges in the District of New Jersey who would be outstanding candidates for this MDL,

including Judges Michael E. Farbiarz, Julien X. Neals, and Zahid N. Quraishi, each confirmed

within the past three years and none of whom is currently assigned an MDL.

       Defendants do not challenge the expertise of the District of New Jersey in handling MDLs,

but, rather, endeavor to provide statistics to portray the District of New Jersey as lacking in

resources relative to the two districts that they propose, the Eastern and Southern Districts of New




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York. However, the District of New Jersey has resources on par with, if not superior to, the courts

that Defendants propose. Moreover, the statistics Defendants present in support of their argument

are misleading. First, Defendants’ arguments with respect to case disposition, Br. at 17, fail to

support transfer to either the Southern or Eastern Districts of New York, and are, in fact, neutral.

For the twelve-month period ending June 30, 2023, the median time from filing to disposition for

civil cases was 6.0 months in the Southern District of New York, 5.2 months in the Eastern District

of New York, and 10.8 months in the District of New Jersey.4 The moving Defendants argue that

these figures disfavor New Jersey. Br. at 17. Yet there is no significant difference in congestion

in these courts. Defendants overlook that, for that same time period, the median time from filing

to trial in civil cases was 47 months in the Southern District of New York, 63.8 months in the

Eastern District of New York, and 56.5 months in the District of New Jersey.5 The relative

proximity of these pending-to-trial time periods indicates that this factor does not militate for or

against transfer to one of the New York Districts.

        Second, Defendants overlook that “[t]he more appropriate metric is instead weighted

filings per judge, a figure that accounts for the fact that different types of civil and criminal actions

take different amounts of time to resolve.” Est. of Bentley v. Marriott Int'l Inc., No. 3:15-CV-1412-

B, 2015 WL 5836256, at *5 (N.D. Tex. Oct. 2, 2015) (footnote omitted).6 For the year ending


4
  See U.S. District Courts–Combined Civil and Criminal Federal Court Management Statistics
(June 30, 2023) (available at https://www.uscourts.gov/sites/default/files/data_tables/fcms_
na_distprofile0630.2023.pdf (last visited Oct. 31, 2023).
5
  “When evaluating the administrative difficulties of court congestion, the most relevant statistics
are the median time from filing to disposition, median time from filing to trial, pending cases per
judge, and average weighted filings per judge.” Emps. Mut. Cas. Co. v. Bartile Roofs, Inc., 618
F.3d 1153, 1169 (10th Cir. 2010) (citations omitted).
6
   See also Admin. Office of U.S. the Courts, Explanation of Selected Terms,
https://www.uscourts.gov/sites/default/files/explanation-of-selected-terms-september-2014_0.pdf



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June 30, 2023, the District of New Jersey has fewer “weighted filings” per judge (454) than the

Southern (534) and Eastern Districts of New York (584). See United States Courts, Federal Court

Management              Statistics,          June           2023,           District           Courts,

https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0630.2023.pdf         (last

accessed Oct. 31, 2023); see also Navajo Nation v. Urb. Outfitters, Inc., 918 F. Supp. 2d 1245,

1260 (D.N.M. 2013) (district with lower number of weighted filings per judge is less congested

court).

          Third, equally unavailing is Defendants’ argument that purportedly lower judicial

caseloads for the Southern and Eastern Districts of New York weigh against a transfer to the

District of New Jersey. Br. at 15, 17. Defendants argue that the latter has 3,732 cases per judge,

id. at 15-16, 17, while the Southern and Eastern Districts of New York have 626 and 869 cases per

judge, respectively, id. at 15, 17. But Defendants’ representation is deceptive because it fails to

account for the fact that in the District of New Jersey there are two large MDLs, Johnson &

Johnson Talcum Powder Products Marketing, Sales Practice and Products Liability Litigation

(MDL 2738, filed in 2016) and Proton Pump Inhibitor Products Liability Litigation (MDL 2789,

filed in 2017), pending before two judges, and totaling 52,995 and 12,826 cases each, respectfully.7


(last accessed Oct. 31, 2023) (explaining that term “weighted filings” “account[s] for the different
amounts of time district judges require to resolve various types of civil and criminal actions. . . . .
Average civil cases or criminal defendants each receive a weight of approximately 1.0; for more
time-consuming cases, higher weights are assessed . . .; and cases demanding relatively little time
from judges receive lower weights . . . .”).
7
  In addition, there are three other MDL’s pending in New Jersey with well over 4,000 associated
cases. These three litigations include In re Elmiron (Pentosan Polysulfate Sodium) Products
Liability Litigation (MDL 2973) (1,968 cases, historically), In re Valsartan, Losartan, and
Irbesartan Products Liability Litigation (MDL 2875) (1,385 cases, historically), and In re Allergan
Biocell Textured Breast Implant Products Liability Litigation (MDL 2921) (1,253 cases,
historically).         See           https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_
Dockets_By_District-September-15-2023.pdf.




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Those approximately 65,000 cases, pending before two of the District’s 17 active Article III

judges, account for the purported “disparity” in “pending cases” statistics for the proposed

transferee districts, impact general statistics regarding the amount of time from filing to resolution,

and give the appearance that many more cases are pending in this District than actually are.8 See

Kimball Hosp., Inc. v. World Master Craftsmen, Inc., No. 322CV00164MPBMJD, 2023 WL

5804346, at *9 (S.D. Ind. Aug. 7, 2023) (holding that docket congestion factor did not militate for

or against transfer where “the difference [in weighted filings per judgeship between two districts]

. . . is likely attributable to a large MDL pending in the Southern District of Indiana”); cf. United

States v. H & R Block, Inc., 789 F. Supp. 2d 74, 84-85 (D.D.C. 2011) (treating relative congestion

of dockets as neutral factor in transfer analysis, noting that these statistics “do not . . . reflect the

differences in the caseloads carried by different individual judges in each district,” and that “[a]ny

disparities between the lengths of time from filing to trial may also reflect differences other than

congestion, such as differences in the types of cases that are likely to be tried in each district and

the level of discovery and pre-trial motion practice required in those cases”). When those MDLs

are removed from the total “pending cases” figures, the number of cases pending before each judge

in New Jersey no longer favors the New York Districts. Moreover, it has recently been reported

that the largest defendant in Proton Pump has reached a settlement, and the Fosamax MDL (over

500 cases alone) is over and on appeal.

        Finally, Defendants put great stock in the number of MDLs pending in each of the New

York Districts they propose, in the first instance, and New Jersey. In doing so, however,



8
  Defendants plainly acknowledged the impact the many cases associated with the 3M Earplug
litigation had on the case averages for the Northern District of Florida (Br. at 20 n.12) when this
consideration did not meaningfully change the analysis per judgeship. In contrast, Defendants did
no such calculation in regards to New Jersey and the number of MDL-associated cases pending
before that District per judgeship.



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Defendants again overlook significant underlying facts. Of the twelve MDLs currently pending

in New Jersey, only five have more than 1,000 associated actions, with these MDLs pending before

only three of the 17 New Jersey judgeships. The remaining seven MDLs have only 102 associated

cases among them, an average of approximately fifteen cases for each MDL. The Southern District

of New York, in contrast, brings an average of over 100 associated cases to the eleven judges

currently assigned an MDL, and the Eastern District has an average of more than 360.9

       In sum, the New York Districts and the District of New Jersey each have pending MDLs;

nothing regarding the Southern or Eastern District of New York’s caseload relative to the District

of New Jersey’s supports transfer to either district.

III.   ALTERNATIVELY, THE PANEL SHOULD CENTRALIZE THE PROCEEDINGS
       IN THE EASTERN DISTRICT OF NEW YORK

       In the alternative, to the extent that the Panel concludes that these cases should be

centralized in the Eastern or Southern District of New York, the Movants respectfully submit that

centralization in the Eastern District would be more appropriate than the Southern District. There

are fewer MDLs present pending in that District than there are pending in the Southern District,

eight of the responding Plaintiffs support the Eastern District of New York as an alternative to the

District of New Jersey, and five of the responding Plaintiffs argue in favor of centralization in the

Eastern District of New York. Case NYE/1:23-cv-07395, Doc. 8; Case MDL No. 3089, Doc. 221.

Furthermore, the thirteen responding Defendants support centralization in the Eastern District of

New York. ECF No. 9. For the reasons set forth in the responding Plaintiffs’ briefs, the moving

Plaintiffs agree that, in the alternative to the District of New Jersey—which moving Plaintiffs




9
  See https://www.jpml.uscourts.gov/sites/jpml/files/Pending_MDL_Dockets_By_District-
September-15-2023.pdf.



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respectfully aver is preferable—the Eastern District of New York would be an appropriate

transferee venue for this litigation.

                                        CONCLUSION

        For the above-stated reasons, as well as for the reasons set forth in the Movant’s opening

brief, the Panel should transfer the Actions set forth on the Schedule of Actions, the Notices of

Action, and all subsequently filed tag-along cases, for coordinated or consolidated pretrial

proceedings before a United States District Court in the District of New Jersey. Alternatively, the

Actions should be transferred and consolidated or coordinated in the Eastern District of New York.

Dated: November 1, 2023

                                                 Respectfully submitted,

/s/ James E. Cecchi                              /s/ Adam J. Levitt
James E. Cecchi                                  Adam J. Levitt
Donald A. Ecklund                                John E. Tangren
Jordan M. Steele                                 Daniel R. Schwartz
CARELLA, BYRNE, CECCHI,                          DICELLO LEVITT LLP
  BRODY & AGNELLO, P.C.                          Ten North Dearborn Street, Sixth Floor
5 Becker Farm Road                               Chicago, Illinois 60602
Roseland, New Jersey 07068                       Telephone: (312) 214-7900
Telephone: (973) 994-1700                        alevitt@dicellolevitt.com
jcecchi@carellabyrne.com                         jtangren@dicellolevitt.com
decklund@carellabyrne.com                        dschwartz@dicellolevitt.com
jsteele@carellabyrne.com

/s/ Christopher A. Seeger                        /s/ Stuart A. Davidson
Christopher A. Seeger                            Stuart A Davidson
David R. Buchanan                                Paul J. Geller
Scott A. George                                  ROBBINS GELLER RUDMAN
SEEGER WEISS LLP                                   & DOWD LLP
55 Challenger Road, 6th Floor                    225 NE Mizner Boulevard, Suite 720
Ridgefield Park, New Jersey 07660                Boca Raton, Florida 33432
Telephone: (973) 639-9100                        Telephone: (561) 750-3000
cseeger@seegerweiss.com                          pgeller@rgrdlaw.com
dbuchanan@seegerweiss.com                        sdavidson@rgrdlaw.com
sgeorge@seegerweiss.com

                                                 Counsel for Movants




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